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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO. 17-80242-CR-ROSENBERG/HUNT
UNITED STATES OF AMERICA
v.

ALEJANDRO ANDRADE CEDENO,

Defendant.
/

FINAL ORDER OF FORFEITURE

THIS CAUSE is before the Court on the United States’ Motion for Final Order of
Forfeiture (“Motion”). The Court has considered the Motion, is otherwise advised in the
premises, and finds as follows:

1. On November 5, 2018, the Court entered a Preliminary Order of Forfeiture, which
imposed a forfeiture money judgment in the amount of $1 billion in U.S. currency against
Defendant Alejandro Andrade Cedeno (the “Defendant”) and forfeited, in partial satisfaction
thereof, the following specific property, among other assets (collectively, the “Forfeited Assets”):

Real Estate

(1) 15231 Sunnyland Lane, Wellington, Florida 33414, including all buildings,
fixtures, appurtenances, improvements, attachments and easements found therein
or thereon, and which is more fully described as:

Lot 19, Block 5, PALM BEACH POINT, according to the map or plat thereof as
recorded in Plat Book 33, Page 133, Public Records of Palm Beach County, Florida;
Parcel Identification Number: 73-41-44-19-01-005-0190;

(2) . 15680 and 15740 46th Lane S, Wellington, Florida 33414, including all
buildings, fixtures, appurtenances, improvements, attachments and easements
found therein or thereon, and which are more fully described as:

A parcel of land lying in Section 30, township 44 South, Range 41, Palm Beach

county, Florida being described as follows: ELY 311.76 FT OF WLY1858.58 FT
LYG § & ADJ TO PALM BEACH POINT AS IN PB33P133 & N& ADJ TO C-
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27 R/W A/K/A TR 5, Public Records of Palm Beach County, Florida;
Parcel Identification Number: 73-41-44-30-00-000-7010; and

A parcel of land lying in Section 30, township 44 South, Range 41, Palm Beach
county, Florida being described as follows: WLY 311.76 FT OF ELY4101.38 FT
OF TH PT OF SEC LYGN OF & ADJ TO C-27 CNL R/W & SOF & PARALLEL
TO LTS 12 & 13, Public Records of Palm Beach County, Florida;

Parcel Identification Number: 73-41-44-30-00-000-7050;

(3) 1290 N. Ocean Boulevard, Palm Beach, Florida 33480, including all buildings,
fixtures, appurtenances, improvements, attachments and easements found therein
or thereon, and which is more fully described as:

The North 33.89 feet to Lot 25-A and ALL of Lot 26-A of BELLO LIDO, according
to the Plat thereof, as recorded in Plat Book 11, at Page 37, of the Public Records
of Palm Beach County, Florida; and Lot 4 of Re-Plat of BELLO LIDO, according
to the Plat thereof, as recorded in Plat Book 24, at Page 171, of the Public Records
of Palm Beach County, Florida;

Parcel Identification Number: 50-43-43-03-06-000-0251;

(4) 16912 Crown Bridge Drive, Del Ray Beach, Florida 33446, including all
buildings, fixtures, appurtenances, improvements, attachments and easements
found therein or thereon, and which is more fully described as:

Lot 159, Bridges - Plat Four, according to the map of plat thereof as recorded in
Plat 115 page 56, public records of Palm Beach County, Florida;
Parcel Identification Number: 00-42-46-29-10-000-1590;

(5) 15159 Sunnyland Lane, Wellington, Florida 33414, including all buildings,
fixtures, appurtenances, improvements, attachments and easements found therein
or thereon, and which is more fully described as:

Lots 20 & 21, Block 5, PALM BEACH POINT, according to the map or plat thereof
as recorded in Plat Book 33, Page 133, Public Records of Palm Beach County,
Florida;

Parcel Identification Number: 73-41-44-19-01-005-0200;

Vehicles
(6) 2017 Mercedes Benz GLS 550, Vehicle Identification Number (“VIN”)
4JGDF7DE8HA893079;

(7) 2017 Mercedes Benz AMG G-63;

(8) 2017 Cadillac Escalade, VIN 1GYS4KKJ4HR135174;

(9) 2016 Porsche Cayenne, VIN WP1AC2A26GLA86557;

(10) 2016 Chevy Tahoe;

(11) 2016 Mercedes Benz AMG S-63, VIN WDDXJ7JB3GA012139
(12) 2015 Bentley Continental Convertible, VIN SCBGJ3ZA2FC044777;
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(13) 2015 Chevrolet Silverado 2500, VIN 1GC4K YC83FF180852;
(14) 2014 Dodge Ram 3500;

(15) 2013 Toyota 4 Runner, VIN JTEZUSJR4D5048434;

(16) 2009 Cimarron Horse Trailer, VIN 5PAHG34249C006294;
(17) Lawnmower/tractor;

(18) Three (3) golf carts;

Horses

(19) Anastasia Du Park;

(20)  Bonjovi;

(21) BoylIV;

(22) Clouwni;

(23) Cortina 186;

(24) Dipssy;

(25) Hardrock Z;

(26) Jenni’s Chance;

(27) Joly Jumper;

(28) Leonardo RGS;

(29) Nokia de Brekka;

(30)  Quilina VD Laarseheide Z;
(31) Reus de la Nutria;

(32) Ricore Courcelle;

(33) Tupac Van de Vrombautshoeve 2;
34) U;

(35) Tinker Bell;

Watches

(36) Rolex Daytona Cosmograph (platinum) watch, reference (“Ref”) 116506,
serial number (“SN”) L900U410;

(37) Rolex Yacht-Master II (white gold and platinum) watch, Ref 116689, SN
V773093;

(38) Rolex Sky-Dweller (yellow gold) watch, Ref 326938, SN 58W365Z2;

(39) Hublot Big Bang King (rose gold and black dial) watch, Ref 322, SN
762177;

(40) Hublot Big Bang King Black Magic (black titanium and ceramic) watch,
Ref 322, SN 737211;

(41) Hublot Big Bang Chronography Tourbillon 20th Anniversary of Ferrari
watch, Limited 4 of 20, Ref 308.QX.1110.HR.SCFIL, SN 930027;

(42) Hublot King Power (black titanium and ceramic) watch, Limited 8 of 35,
SN 860397;

(43) Hublot Big Bang UEFA (black titanium and ceramic) watch, Limited 1557
of 2008, Ref 318, SN 739956;

(44) Hublot Big Bang Yankee Victor (stainless steel) watch, Limited 29 of 100,
Ref 301, SN 689869;

(45) Hublot King Power (titanium and zirconium, rubber band) watch, Limited
244 of 500, SN 823700;
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(46) Hublot King Power LaVinotinto Chronograph (black titanium and ceramic)
watch, Limited 11 of 40, SN 977783;

(47) Patek Philippe Nautilus (stainless steel) watch, Ref 5990 / 1A-001,

- Movement No 5998681, SN A384FBC;

(48) Patek Philippe Nautilus Annual Calendar (stainless steel) watch, Ref 5726/
1A-001, Movement No 5334786, SN A384FAP;

(49) Patek Philippe Nautilus manual (rose gold and stainless steel) watch, Ref
5980 / 1AR-001, Movement No 5928544, SN A3841AP;.

(50) Audemars Piguet Royal Oak Offshore Chronograph (rose gold and black
rubber band) watch, Ref 3850, SN G29840;

(51) Audemars Piguet Royal Oak Offshore Safari Chronograph (stainless steel
and brown band) watch, No 5446, Ref 26170, SN G43443;

(52) Audemars Piguet Royal Oak Offshore Chronograph Bumble Bee (carbon)
watch, No 2376, Ref 26176, SN 48097;

(53) Audemars Piguet Royal Oak Offshore (stainless steel) watch, No 1836, Ref
26170, SN G17332;

(54) Roger Dubuis Easy Diver Tourbidiver (stainless steel) watch, Movement
No RD05, SN 13/88;

(55) Roger Dubuis Much More (rose gold) watch, SN 23/28, stamped 750;

(56) Panerai Luminor Monopulsante GMT Chronograph (titanium and ceramic)
watch, Limited L005 of 500, No OP6752, Ref PAM00317, SN BB1458977;

(57) Panerai Luminor Submersible Divers Professional (stainless steel) watch,
Limited J459 of 700, No OP6701, SN BB1253185;

(58) Panerai Luminor (stainless steel) watch, Limited K198 of 500, No OP6726,
SN PB0596207;

(59) IWC Pilot Spitfire Chronograph Perpetual Calendar (yellow gold) watch,
No AU750, Ref IW379103, SN 5074132;

(60) Jaeger Le Coultre Master Compressor Diving GMT watch, Ref 159.T.05,
SN 2471271;

(61) Jaeger Le Coultre Master Compressor Diving Chronograph (rose gold)
watch, Ref 160.2.25, SN 2469332;

(62) Jaeger Le Coultre Master Grande Tradition Minute Repeater manual
(titanium) watch, Limited 65 of 100, Ref. 187.T.67.S, SN 2653359;

(63) Frank Muller Casablanca (stainless steel) watch, No 1018, Ref 8885 C CC
DT;

(64) Frank Muller Mariner (stainless steel and red dial) watch, No 69, Ref 908
CC AT Mar;

(65) Frank Muller Mariner Chronograph (stainless steel and blue dial) watch, No
29, Ref 8080 CC AT Mar;

(66) Frank Vila Tourbillon Planetaire Skeleton SuperLigero Concept (titanium)
watch, Limited 3 of 8, Ref FVA N6;

(67) Frank Vila Chronograph (titanium) watch, Limited 3 of 48, Ref FVA10;

(68) Greubel Forsey GMT Global Double Tourbillon (white gold) watch,
Limited 28 of 33, Ref GF GMT WG, stamped AU750 02 669;

(69) IWC Schaffhausen Big Pilot Antoine de Saint Exupery Edition (rose gold)
watch, Limited 35 of 500, Ref 1W500421, SN 3427442;
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(70) Rolex Daytona Cosmograph (yellow gold and blue dial) watch, Ref 116528,
SN 52UM9527;

Financial Accounts

(71) All assets on deposit in account number 0209551AA held in the name of,
or for the benefit of, Alejandro Andrade at BSI Bank in Switzerland;

(72)  Allassets on deposit in account number 000000941600959 held in the name
of Doble A Records USA LLC at JPMorgan Chase Bank N.A.;

(73) All assets on deposit in account number 898060394243 held in the name of
Telsey Properties Holding LLC at Bank of America;

(74) All assets on deposit in account number 898061778088 held in the name of
Doble A Management LLC at Bank of America;

(75) All assets on deposit in account number 898061778091 held in the name of
Doble A Farm, LLC at Bank of America;

(76) All assets on deposit in account number 898039362866 held in the name of
Malabar Management LLC at Bank of America;

(77) All assets on deposit in account number 5340241792 held in the name of
Malabar Management, LLC at Wells Fargo Bank;

(78) All assets on deposit in account number 5536404915 held in the name of
Telsey Properties Holding, LLC at Wells Fargo Bank; and

(79) All assets on deposit in account number CH47084680000114931 held in
the name of Telsey Managers International Inc. at EFG Bank in
Switzerland.

See Preliminary Order of Forfeiture, ECF No. 30.!

2. Notices of Lis Pendens were recorded on the forfeited real estate. See Exhibit A,
ECF No. 80-1 (Recorded Notices of Lis Pendens); see also, e.g., Notices of Lis Pendens, ECF
Nos. 35 to 40. |

3. Between on or about December 4 and 10, 2018, notices of the Preliminary Order of
Forfeiture were posted on the forfeited real estate in an open and conspicuous manner by law
enforcement agents. See Return of Executed Service, ECF No. 56 (1290 N. Ocean Boulevard on

12/10/2018); Return of Executed Service, ECF No. 58 (15680 & 15740 46th Lane S on 12/4/2018);

 

‘1 On November 19, 2018, upon unopposed motion of the United States, the Court entered an Order
for Interlocutory Sale of Certain Assets Subject to Forfeiture, authorizing the interlocutory sale of
the preliminarily forfeited real estate, vehicles, horses, and watches pending their final forfeiture.
See Order for Interlocutory Sale, ECF No. 44; Order Clarifying Order for Interlocutory Sale, ECF
No. 66.

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Return of Executed Service, ECF No. 59 (15159 Sunnyland Lane on 12/4/2018); Return of
Executed Service, ECF No. 60 (15231 Sunnyland Lane on 12/4/2018); Return of Executed
Service, ECF No. 61 (16912 Crown Bridge Drive on 12/4/2018).

4, In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6) of the Federal Rules
of Criminal Procedure, notice of the Preliminary Order of Forfeiture was published on an official
government website (www. forfeiture. gov) for 30 consecutive days, from December 22, 2018, until
January 20,2019. See Decl. of Publication, ECF No. 67.

5. Also in accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(6)(6) of the Federal
Rules of Criminal Procedure, all other persons known to have an alleged interest in the Forfeited
Assets received written direct notice of the Preliminary Order of Forfeiture or were on actual notice
of the forfeiture.

6. Specifically, between on or about December 4, 2018, and January 30, 2019, direct
notice letters were sent via Federal Express to the following persons or entities:

(1) Emanuel Andrade Colemenares
16912 Crown Bridge Drive
Delray Beach, FL 33446
(2) Maria Andrade
15159 Sunnyland Lane
Wellington, FL 33414
(3) Cayenne Turbo LLC
470 S Shore Drive
Miami, FL 33141
(4) California Closets
4763 PGA Blvd.
Palm Beach Gardens, FL 33418
(5) Coventina Builders LLC

1834 SW Janette Avenue
Port St. Lucie, FL 34953
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(6)

(7)

(8)

(9)

(10)

(11)

(12)

(13)

(14)

(15)

Crown Bridge Investment LLC

George S. Zamora, Esq., Registered Agent
2137 NW 2nd Avenue

Miami, FL 33127

DB Private Wealth Mortgage, LTD
60 Wall Street, 32nd Floor
New York, NY 10005

Doble A Farm LLC

Anabel Sanchez, Registered Agent
12300 South Shore Blvd., Suite 216
Wellington, FL 33414

Doble A. Records USA LLC
Anabel Sanchez, Registered Agent
12300 South Shore Blvd., Suite 216
Wellington, FL 33414

Alvaro Fernaud
Doral, FL

Five Construction
2950 NW Commerce Park Drive #4
Boynton Beach, FL 33435

Gerrion Capital LLC

Maria Rosario, Registered Agent
3373 SW 29th Terrace

Miami, FL 33127

Gerrion Capital LLC
2137 NW 2nd Avenue
Miami, FL 33127

Gerrion Capital LLC
Anabel Sanchez Dominguez
1878 Capeside Circle
Wellington, FL 33414

Malabar Management LLC

Anabel Sanchez, Registered Agent
12300 South Shore Blvd., Suite 216
Wellington, FL 33414

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(16)

(17)

(18)

(19)

(20)

(21)

(22)

Palm Beach County Tax Collector
301 N Olive Avenue
West Palm Beach, FL 33401

Palm Beach County Tax Collector
P.O. Box 3715
West Palm Beach, FL 33402

Paul Tracy

Paul Tracy, Inc.

2109 Henley Place
Wellington, FL 33414

Telsey Managers International Inc.
15231 Sunnyland Lane
Wellington, FL 33414

Telsey Properties Holding LLC
Anabel Sanchez, Registered Agent
12300 South Shore Blvd., Suite 216
Wellington, FL 33414-6237

1290 Investments LLC

Worldwide Corporate Admin LLC, Registered Agent
2330 Ponce De Leon Blvd., Suite 201

Coral Gables, FL 33134

YICSMI66 LLC

Anabel Sanchez, Registered Agent
12300 South Shore Blvd., Suite 216
Wellington, FL 33414

See Exhibit B, ECF No. 80-2 (FedEx Delivery Status and Correspondence).

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7. In addition, on November 26, 2018, a copy of the Preliminary Order of Forfeiture

was sent, via e-mail, to counsel for the current or last known manager of both Telsey Properties

Holding, LLC and Doble A Farm, LLC, nominal title holders for certain forfeited real estate.

8. The nominal title owners of the forfeited real estate also executed deeds transferring

title to such property to the United States. See Exhibit C, ECF No. 80-3 (Deeds).
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9. Pursuant to 21 U.S.C. § 853(n)(2), “fa]ny person, other than the defendant,
asserting a legal interest in property which has been ordered forfeited to the United States pursuant
to this section may, within thirty days of the final publication of notice or his receipt of notice
under paragraph (1), whichever is earlier, petition the court for a hearing to adjudicate the validity
of his alleged interest in the property.”

10. The time for filing a petition claiming an interest in the Forfeited Assets has
expired.

11. Between April and July 2019, the United States entered into Stipulation and
Settlement Agreements with Paul Tracy, Inc., Palm Beach Equine Clinic LLC, Hidden Brook
Farm, and B&B Farm Inc. to resolve, pre-filing of third-party petitions, their respective interests
in certain preliminarily forfeited horses as a result of services provided. See Agreement with Paul
Tracy, ECF No. 71-2; Agreement with Palm Beach Equine Clinic, ECF No. 71-3; Agreement with
B&B Farm Inc., ECF No. 74-2; Agreement with Hidden Brook Farm, ECF No. 75-1; Amended
Agreement with B&B Farm Inc., ECF No. 76-1. In these settlements, which the Court approved,
the United States agreed to release the following amounts in full satisfaction of third-party claims
to the forfeited horses:

(1) $10,265.00 in U.S. currency to Paul Tracy Inc.;

(2) $84,982.19 in U.S. currency to Palm Beach Equine Clinic LLC;

(3) $10,366.35 in U.S. currency to Hidden Brook Farm; and

(4) $16,828.79 in U.S. currency to B&B Farm Inc.
See id.; Order Approving Agreements with Paul Tracy and Palm Beach Equine Clinic, ECF No.
72; Order Approving Am. Agreement with B&B Farm, ECF No. 77; Order Approving Agreement

with Hidden Brook Farm, ECF No. 78.
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12. With respect to the forfeited real estate, the United States acknowledges and agrees
to pay the relevant county tax collector all outstanding ad valorem taxes, assessments, and liens,
if any, together with any interest accrued thereon. Such payments will be made at closing with
proceeds from the sale of the forfeited real estate.

13. Pursuant to 21 U.S.C. § 853(n)(7), once all third-party petitions have been disposed
of and/or if no timely petitions have been filed, “the United States shall have clear title to property
that is the subject of the order of forfeiture and may warrant good title to any subsequent purchaser
or transferee.” Accord Fed. R. Crim. P. 32.2(c)(2).

14. Therefore, the United States is entitled to have clear title to the Forfeited Assets.

Accordingly, based upon the foregoing, the evidence of record, and for good cause shown,
the United States’ Motion for Final Order of Forfeiture is GRANTED, and it is hereby
ORDERED, ADJUDGED, AND DECREED that:

1. Pursuant to 18 U.S.C. § 982(a)(1), 21 U.S.C. § 853, and Rule 32.2(c)(2) of the
Federal Rules of Criminal Procedure, all right, title, and interest in the following specific assets
are hereby finally forfeited to and vested in the United States of America (collectively, the
“Forfeited Assets”):

Real Estate

(1) 15231 Sunnyland Lane, Wellington, Florida 33414, including all buildings,

fixtures, appurtenances, improvements, attachments and easements found therein
or thereon, and which is more fully described as:

Lot 19, Block 5, PALM BEACH POINT, according to the map or plat thereof as
recorded in Plat Book 33, Page 133, Public Records of Palm Beach County, Florida;
Parcel Identification Number: 73-41-44-19-01-005-0190;

(2) 15680 and 15740 46th Lane S, Wellington, Florida 33414, including all

buildings, fixtures, appurtenances, improvements, attachments and easements

found therein or thereon, and which are more fully described as:

A parcel of land lying in Section 30, township 44 South, Range 41, Palm Beach

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county, Florida being described as follows: ELY 311.76 FT OF WLY1858.58 FT
LYG S & ADJ TO PALM BEACH POINT AS IN PB33P133 & N& ADJ TO C-
27 R/W A/K/A TR 5, Public Records of Palm Beach County, Florida;

Parcel Identification Number: 73-41-44-30-00-000-7010; and

A parcel of land lying in Section 30, township 44 South, Range 41, Palm Beach
county, Florida being described as follows: WLY 311.76 FT OF ELY4101.38 FT
OF TH PT OF SEC LYGN OF & ADJ TO C-27 CNL R/W & SOF & PARALLEL
TO LTS 12 & 13, Public Records of Palm Beach County, Florida;

Parcel Identification Number: 73-41-44-30-00-000-7050;

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or thereon, and which is more fully described as:

The North 33.89 feet to Lot 25-A and ALL of Lot 26-A of BELLO LIDO, according
to the Plat thereof, as recorded in Plat Book 11, at Page 37, of the Public Records
of Palm Beach County, Florida; and Lot 4 of Re-Plat of BELLO LIDO, according
to the Plat thereof, as recorded in Plat Book 24, at Page 171, of the Public Records
of Palm Beach County, Florida;

Parcel Identification Number: 50-43-43-03-06-000-0251;

(4) 16912 Crown Bridge Drive, Del Ray Beach, Florida 33446, including all
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AJGDF7DE8HA 893079;

(7) 2017 Mercedes Benz AMG G-63;

(8) 2017 Cadillac Escalade, VIN 1GYS4KKJ4HR135174;
(9) 2016 Porsche Cayenne, VIN WP1AC2A26GLA86557;
(10) 2016 Chevy Tahoe;

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(11) 2016 Mercedes Benz AMG S-63, VIN WDDXJ7JB3GA012139

(12) 2015 Bentley Continental Convertible, VIN SCBGJ3ZA2FC044777,
(13) 2015 Chevrolet Silverado 2500, VIN 1GC4K YC83FF180852;

(14) 2014 Dodge Ram 3500;

(15) 2013 Toyota 4 Runner, VIN JTEZU5JR4D5048434;

(16) 2009 Cimarron Horse Trailer, VIN SPAHG34249C006294;

(17) Lawnmower/tractor;

(18) Three (3) golf carts;

Horses

(19) Anastasia Du Park;

(20)  Bonjovi;

(21) BoylIV;

(22) Clouwni;

(23) Cortina 186;

(24) Dipssy;

(25) Hardrock Z;

(26) Jenni’s Chance;

(27) Joly Jumper;

(28) Leonardo RGS;

(29) Nokia de Brekka;

(30)  Quilina VD Laarseheide Z;
(31) Reus de la Nutria;

(32) Ricore Courcelle;

(33) Tupac Van de Vrombautshoeve 2;
34) U;

(35) Tinker Bell;

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(36) Rolex Daytona Cosmograph (platinum) watch, reference (“Ref”) 116506,
serial number (“SN”) L900U410;

(37) Rolex Yacht-Master II (white gold and platinum) watch, Ref 116689, SN
V773093;

(38) Rolex Sky-Dweller (yellow gold) watch, Ref 326938, SN 58W365Z2;

(39) Hublot Big Bang King (rose gold and black dial) watch, Ref 322, SN
762177;

(40) Hublot Big Bang King Black Magic (black titanium and ceramic) watch,

_ Ref 322, SN 737211;

(41) Hublot Big Bang Chronography Tourbillon 20th Anniversary of Ferrari
watch, Limited 4 of 20, Ref 308.QX.1110.HR.SCFII, SN 930027;

(42) Hublot King Power (black titanium and ceramic) watch, Limited 8 of 35,
SN 860397;

(43) Hublot Big Bang UEFA (black titanium and ceramic) watch, Limited 1557
of 2008, Ref 318, SN 739956;

(44) Hublot Big Bang Yankee Victor (stainless steel) watch, Limited 29 of 100,
Ref 301, SN 689869;

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(45) Hublot King Power (titanium and zirconium, rubber band) watch, Limited
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(46) Hublot King Power LaVinotinto Chronograph (black titanium and ceramic)
watch, Limited 11 of 40, SN 977783;

(47) Patek Philippe Nautilus (stainless steel) watch, Ref 5990 / 1A-001,
Movement No 5998681, SN A384FBC;

(48) Patek Philippe Nautilus Annual Calendar (stainless steel) watch, Ref 5726/
1A-001, Movement No 5334786, SN A384FAP;

(49) Patek Philippe Nautilus manual (rose gold and stainless steel) watch, Ref
5980 / [AR-001, Movement No 5928544, SN A3841AP;

(50) Audemars Piguet Royal Oak Offshore Chronograph (rose gold and black
rubber band) watch, Ref 3850, SN G29840;

(51) Audemars Piguet Royal Oak Offshore Safari Chronograph (stainless steel
and brown band) watch, No 5446, Ref 26170, SN G43443;

(52) Audemars Piguet Royal Oak Offshore Chronograph Bumble Bee (carbon)
watch, No 2376, Ref 26176, SN 48097;

(53) Audemars Piguet Royal Oak Offshore (stainless steel) watch, No 1836, Ref
26170, SN G17332;

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watch, Limited L005 of 500, No OP6752, Ref PAM00317, SN BB1458977;

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SN 2471271;

(61) Jaeger Le Coultre Master Compressor Diving Chronograph (rose gold)
watch, Ref 160.2.25, SN 2469332;

(62) Jaeger Le Coultre Master Grande Tradition Minute Repeater manual
(titanium) watch, Limited 65 of 100, Ref. 187.T.67.S, SN 2653359;

(63) Frank Muller Casablanca (stainless steel) watch, No 1018, Ref 8885 C CC
DT;

(64) Frank Muller Mariner (stainless steel and red dial) watch, No 69, Ref 908
CC AT Mar;

(65) Frank Muller Mariner Chronograph (stainless steel and blue dial) watch, No
29, Ref 8080 CC AT Mar;

(66) Frank Vila Tourbillon Planetaire Skeleton SuperLigero Concept (titanium)
watch, Limited 3 of 8, Ref FVA N6;

(67) Frank Vila Chronograph (titanium) watch, Limited 3 of 48, Ref FVA10;

(68) Greubel Forsey GMT Global Double Tourbillon (white gold) watch,
Limited 28 of 33, Ref GE GMT WG, stamped AU750 02 669;

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(69)

(70)

IWC Schaffhausen Big Pilot Antoine de Saint Exupery Edition (rose gold)
watch, Limited 35 of 500, Ref IW500421, SN 3427442;

Rolex Daytona Cosmograph (yellow gold and blue dial) watch, Ref 116528,
SN 52UM9527;

Financial Accounts

(71)
(72)
(73)
(74)
(75)
(76)
(77)
(78)

(79)

2.

All assets on deposit in account number 0209551AA held in the name of, or for the
benefit of, Alejandro Andrade at BSI Bank in Switzerland;

All assets on deposit in account number 000000941600959 held in the name
of Doble A Records USA LLC at JPMorgan Chase Bank N.A.;

All assets on deposit in account number 898060394243 held in the name of
Telsey Properties Holding LLC at Bank of America;

All assets on deposit in account number 898061778088 held in the name of
Doble A Management LLC at Bank of America;

All assets on deposit in account number 898061778091 held in the name of
Doble A Farm, LLC at Bank of America;

All assets on deposit in account number 898039362866 held in the name of
Malabar Management LLC at Bank of America;

All assets on deposit in account number 5340241792 held in the name of
Malabar Management, LLC at Wells Fargo Bank;

All assets on deposit in account number 5536404915 held in the name of
Telsey Properties Holding, LLC at Wells Fargo Bank; and

All assets on deposit in account number CH47084680000114931 held in
the name of Telsey Managers International Inc. at EFG Bank in
Switzerland.

Any duly authorized law enforcement official may seize and take immediate

possession of the Forfeited Assets, exercising any and all incidents of ownership with respect

thereto.

It is further ORDERED that the Forfeited Assets shall be disposed of in accordance with

law, and that the Court shall retain jurisdiction in this case for the purpose of enforcing this Order.

DONE AND ORDERED in West Palm Beach, Florida, this og n day of August, 2019.

 

ON. ROBIN L. ROSENBE

UNITED STATES pISTRIC( sug
cc: Nalina Sombuntham, Assistant United States Attorney (5 certified copies)

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